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     IT IS ORDERED as set forth below:



     Date: November 17, 2018
                                                       _____________________________________
                                                                     Paul Baisier
                                                             U.S. Bankruptcy Court Judge

     _______________________________________________________________


                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

In re:                                             :
                                                   :      Jointly Administered Under
NEXXLINX CORPORATION, INC.,                        :      CASE NO. 16-61225-PMB
et al.,                                            :
                                                   :      CHAPTER 7
               Debtor.                             :
                                                   :
                                                   :
TAMARA MILES OGIER, as Chapter 7                   :
Trustee,                                           :
                                                   :
               Plaintiff,                          :
                                                   :      ADVERSARY PROCEEDING
v.                                                 :
                                                   :      NO. 18-5131
CENTURY LINK SALES SOLUTIONS, INC.,                :
                                                   :
               Defendant.                          :
                                                   :

                ORDER AND NOTICE SETTING STATUS CONFERENCE

         Plaintiff-Chapter 7 Trustee named above (the “Plaintiff”) initiated this Adversary

Proceeding against Defendant shown above (the “Defendant”) through the filing of a Complaint
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herein on June 20, 2018 (Docket No. 1)(the “Complaint”). In the Complaint, the Plaintiff seeks

entry of an order and judgment declaring certain transfers of property by the Debtor avoided as

preferential transfers under 11 U.S.C. § 547 or as post-petition transfers under 11 U.S.C. § 549,

preserved for this bankruptcy estate under 11 U.S.C. § 551, and allowing Plaintiff to recover the

value of same for the benefit of this bankruptcy estate under 11 U.S.C. § 550.

       It appearing from the Court’s Docket that although the parties have initiated discovery in

this matter, no joint report of Rule 26(f) Conference has been filed in compliance with Local Rule

BLR 7016-1, and, accordingly, it is

       ORDERED AND NOTICE IS HEREBY GIVEN that a Status Conference will be held

on this matter on the 17th day of December, 2018, commencing at 2:00 p.m. in Courtroom 1202,

at the Richard B. Russell Federal Building and United States Courthouse, 75 Ted Turner

Drive, S.W., Atlanta, Georgia at which time the Court will hear an update on the status of this

proceeding, and discuss discovery, scheduling, or any other related matters as necessary in order

to proceed to trial or other resolution herein, including the filing of dispositive motions.

        The Clerk is directed to serve a copy of this Order and Notice upon the Plaintiff, counsel

for the Plaintiff, counsel for the Defendant, and the United States Trustee.

                                   [END OF DOCUMENT]




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